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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                            Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,

               Defendant.


   GOVERNMENT’S MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL

       The United States of America, by and through Special Counsel Robert S. Mueller, III,

respectfully moves for leave to file under seal the attached response to defendant Manafort's

supplemental filing to his motion for reconsideration of conditions of release (ECF No. 173-2),

which was itself filed under seal with leave of the Court. See 2/12/2018 Minute Order. The

government’s response addresses information that appears in that sealed filing, as well as

additional information that the Court has ordered to be sealed. To preserve the confidentiality of

that information, the government therefore requests that its response also be filed under seal, with

a redacted version to be submitted on the public docket following Manafort’s submission of a

redacted version of his supplemental filing. A proposed order accompanies this motion.

                                                     Respectfully submitted,

                                                     ROBERT S. MUELLER III
                                                     Special Counsel

Dated: February 13, 2018                      By:    __/s/__Andrew Weissmann___
                                                     Andrew Weissmann
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